






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00254-CV







Shannon Mattingly, Appellant


v.


John Cowman and City of Leander, Appellees







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT

NO. 04158-C368, HONORABLE BURT CARNES, JUDGE PRESIDING



	


M E M O R A N D U M   O P I N I O N



	Appellant Shannon Mattingly has filed an agreed motion to dismiss her appeal.  We
grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a).



					                                                                                    

					Jan P. Patterson, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed on Agreed Motion

Filed:   July 15, 2004


